                               United States Court of Appeals
                                     For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Michael E. Gans
                                                                               FAX (314) 244-2780
 Clerk of Court
                                                                             www.ca8.uscourts.gov

                                                            June 16, 2023


Mr. Jonathan Franklin Mitchell
MITCHELL LAW, PLLC
Suite 400
111 Congress Avenue
Austin, TX 78701

       RE: 23-2450 Christian Labor Association, et al v. City of Duluth, et al

Dear Counsel:

        The district court clerk has transmitted a notice of appeal and docket entries in this
matter, and we have docketed them under the caption and case number shown above. Please
include the caption and the case number on all correspondence or pleadings submitted to this
court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

        The court has established a briefing schedule for the case, a copy of which will be
forwarded under separate notice of docket activity. Please refer to the schedule and note the key
filing dates. You should also review Federal Rules of Appellate Procedure 28 and 32, as well as
Eighth Circuit Rules 28A and 32A. Sample briefs may be obtained by contacting the St. Louis
Clerk's office.

        Within 14 days of today's date, counsel for appellant must: (1) file a verification that any
transcripts needed for the appeal have been ordered and that satisfactory arrangements have been
made for payment, and (2) file a notice of the method of appendix preparation selected for the
case. Eighth Circuit Rule 30A contains detailed information on appendix preparation.

        The court has directed the clerk's office to monitor and enforce compliance with the
briefing schedule. Failure to file your brief will result in issuance of a show cause order and may
lead to dismissal of the appeal. Requests for extensions of time must be timely and should
establish good cause. Overlength briefs are strongly discouraged.




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       Please note the provisions of Eighth Circuit Rule 32A governing briefs and reply briefs
responding to multiple briefs.

       On June 1, 2007, the Eighth Circuit implemented the appellate version of CM/ECF.
Electronic filing is now mandatory for attorneys and voluntary for pro se litigants proceeding
without an attorney. Information about electronic filing can be found at the court's web site
www.ca8.uscourts.gov. In order to become an authorized Eighth Circuit filer, you must register
with the PACER Service Center at https://www.pacer.gov/psco/cgi-bin/cmecf/ea-regform.pl.
Questions about CM/ECF may be addressed to the Clerk's office.

        If you have any questions about the schedule or procedures for the case, please contact
our office.

                                                     Michael E. Gans
                                                     Clerk of Court

ASL

Enclosure(s)

cc:      Mr. Timothy W. Andrew
         Mr. Lucas Robert Jason Aubrey
         Ms. Carla R Bebault
         Ms. Victoria Louise Bor
         Ms. Clerk, U.S. District Court, District of Minnesota
         Ms. Amran Farah
         Ms. Lynne Krenz
         Mr. Robert D. Kurnick
         Ms. Emily Muirhead McAdam
         Ms. Davida Sheri McGhee
         Mr. Monte Mills
         Mr. Jonathan Newman
         Ms. Paige Orcutt
         Ms. Jane C. Poole
         Mr. Thomas R. Revnew
         Ms. Elizabeth Sellers Tabor
         Mr. Walter S. Zimolong III

            District Court/Agency Case Number(s): 0:21-cv-00227-DWF




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Caption For Case Number: 23-2450

Christian Labor Association; Kaski, Inc.; Nordic Group, Inc.; Roen Salvage Co.; Luke Krhin

            Plaintiffs - Appellants

Shawn Kunnari; Dylan Smith

            Plaintiffs

v.

City of Duluth; City of Cloquet; City of Two Harbors; Western Lake Superior Sanitary District;
Duluth Building and Construction Trades Council

            Defendants - Appellees




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Addresses For Case Participants: 23-2450


Mr. Jonathan Franklin Mitchell                    Ms. Lynne Krenz
MITCHELL LAW, PLLC                                U.S. DISTRICT COURT
Suite 400                                         District of Minnesota
111 Congress Avenue                               Warren E. Burger Federal Building
Austin, TX 78701                                  316 N. Robert Street
                                                  Saint Paul, MN 55101-0000
Mr. Timothy W. Andrew
BROWN & ANDREW                                    Mr. Robert D. Kurnick
300 Alworth Building                              SHERMAN & DUNN
306 W. Superior Street                            Suite 1000
Duluth, MN 55802-0000                             900 Seventh Street, N.W.
                                                  Washington, DC 20001-0000
Mr. Lucas Robert Jason Aubrey
SHERMAN & DUNN                                    Ms. Emily Muirhead McAdam
Suite 1000                                        GREENE & ESPEL
900 Seventh Street, N.W.                          Suite 2200
Washington, DC 20001-0000                         222 S. Ninth Street
                                                  Minneapolis, MN 55402-0000
Ms. Carla R Bebault
WARREN E. BURGER FEDERAL                          Ms. Davida Sheri McGhee
BUILDING                                          GREENE & ESPEL
316 N. Robert Street                              Suite 2200
Saint Paul, MN 55101-0000                         222 S. Ninth Street
                                                  Minneapolis, MN 55402-0000
Ms. Victoria Louise Bor
SHERMAN & DUNN                                    Mr. Monte Mills
Suite 1000                                        GREENE & ESPEL
900 Seventh Street, N.W.                          Suite 2200
Washington, DC 20001-0000                         222 S. Ninth Street
                                                  Minneapolis, MN 55402-0000
Ms. Clerk, U.S. District Court, District of
Minnesota                                         Mr. Jonathan Newman
U.S. DISTRICT COURT                               SHERMAN & DUNN
District of Minnesota                             Suite 1000
202 U.S. Courthouse                               900 Seventh Street, N.W.
300 S. Fourth Street                              Washington, DC 20001-0000
Minneapolis, MN 55415-0000
                                                  Ms. Paige Orcutt
Ms. Amran Farah                                   CITY OF DULUTH
GREENE & ESPEL                                    Suite 440
Suite 2200                                        411 W. First Street
222 S. Ninth Street                               Duluth, MN 55802
Minneapolis, MN 55402-0000
                                                  Ms. Jane C. Poole
                                                  ANDREW & BRANSKY
                                                  Suite 300
                                                  302 W. Superior Street
                                                  Duluth, MN 55802


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Mr. Thomas R. Revnew                       Ms. Elizabeth Sellers Tabor
PETERS & REVNEW                            DULUTH CITY ATTORNEY'S OFFICE
Suite 500                                  Room 410
7300 Metro Boulevard                       411 W. First Street
Minneapolis, MN 55439                      Duluth, MN 55802

                                           Mr. Walter S. Zimolong III
                                           ZIMOLONG, LLC
                                           P.O. Box 552
                                           Villanova, PA 19085




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